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                            UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 In Re:                                               :
                                                      :
           Percy J. Cornelious,                       :      Case No.: 19-51311
                                                      :      Chapter: 7
                                                      :      Judge: C. Kathryn Preston
                       Debtor.                        :


       APPLICATION TO EMPLOY TOM EROSHEVICH AND RE/MAX NORTH
                AND NOTICE AND CERTIFICATE OF SERVICE


       Pursuant to 11 U.S.C. §327(a) and (d), Rule 2014 of the Federal Rules of Bankruptcy
Procedure and Local Bankruptcy Rule 2014-1, Larry J. McClatchey, Applicant Trustee in the
within case, respectfully represents as follows:

          1. Percy J. Cornelious, Debtor, filed a petition for relief under Chapter 7 of the Bankruptcy
             Code on March 7, 2019.

          2. Applicant was appointed Trustee on March 8, 2019, and is the duly qualified and acting
             Trustee.

          3. Applicant desires to employ Tom Eroshevich of RE/MAX North, 870 High Street,
             Worthington, Ohio 43085, as a realtor to list and sell the single family residence which
             is commonly known as 2560 Willowgate Road, Grove City, Ohio 43123 (the
             “Property”).

          4. It is necessary to employ a realtor because Applicant has determined that there is equity
             in the Property to administer for the benefit of creditors in this case. Applicant further
             believes that the employment of a professional realtor to value, market and sell the
             subject real estate is necessary and in the best interest of the estate, and approval of the
             employment is requested as of the date of the Application.

          5. The Debtor owns the Property that is encumbered by a lien in favor of U.S. Bank
             National Association. Trustee expects to obtain the consent of the secured creditor to
             a private sale and a “carve out” amount for the benefit of the bankruptcy estate.

          6. The qualifications of Eroshevich to act as realtor are set forth in the attached Verified
             Statement. If Trustee subsequently determines a sale effort should be made, Trustee
             intends to list the Property for sale through Eroshevich.




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        7. To the best of Applicant’s knowledge, Eroshevich is a licensed realtor, and, based upon
           the attached Verified Statement, known to the Trustee to be competent, disinterred, and
           to neither hold nor represent any interest adverse to the bankruptcy estate, nor does he
           have any relation to or connection with a judge of the Bankruptcy Court of the District
           Court for the Southern District of Ohio or the Office of the United States Trustee which
           would render the proposed employment improper under B.R. 5002, nor is he an officer
           or employee of the Judicial Branch of the United States or the United States Department
           of Justice.

        8. No fees or retainer has been paid to Eroshevich in the one year prior to the filing of the
           petition through the time of the application in the within case.

       WHEREFORE, Applicant request the entry of an Order authorizing the employment of
Tom Eroshevich of RE/MAX North at 870 High Street, Worthington, Ohio 43085, to perform the
services described above effective from the date of this Application.


                                       /s/Larry J. McClatchey
                                       Larry J. McClatchey (0012191)
                                       Kegler, Brown, Hill + Ritter, Co., LPA
                                       65 East State Street, Suite 1800
                                       Columbus, Ohio 43215
                                       Telephone: (614)462-5400
                                       Facsimile: (614)464-2634
                                       lmcclatchey@keglerbrown.com
                                       Trustee




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                          NOTICE AND CERTIFICATE OF SERVICE


PLEASE TAKE NOTICE that Larry J. McClatchey, Trustee filed an Application to Employ
Realtor with the Court.
Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this Bankruptcy case. (If you do not have an attorney, you
may wish to consult one.) If you do not want the Court to grant the relief requested, or if you
want the court to consider your views on the application then on or before twenty one (21) days
from the date set forth in the certificate of service for the motion or objection ("Response
Date"), you must file with the court a response explaining your position by mailing your response
by regular US Mail to the Clerk of the United States Bankruptcy Court, 170 North High Street,
Columbus, Ohio 43215 OR your attorney must file a response using the court's ECF System. If
you mail your response to the Court for filing, you must mail it early enough so the Court will
receive it on or before the Response Date.
You must also mail a copy of your response on or before the Response Date by 1) the Court's ECF
System or 2) by regular US Mail to Trustee's counsel, Larry J. McClatchey, Kegler Brown Hill +
Ritter, 65 East State Street, Suite 1800, Columbus, Ohio 43215. If you or your attorney do not ake
these steps, the Court may decide that you do not oppose the relief sought in the motion or
objection and may enter an order granting that relief.


                                CERTIFICATE OF SERVICE
        I hereby certify that a copy of the foregoing Application to Employ was served through
the court’s ECF System on all ECF participants registered in this case at the email addresses
registered with the court, and by ordinary U.S. Mail on May 10, 2019 addressed to:
Percy J. Cornelious                                  Tom Eroshevich
2560 Willowgate Road                                 RE/MAX North
Grove City, Ohio 43123                               870 High Street
                                                     Worthington, Ohio 43085
and See Attached Exhibit A

                                      /s/Larry J. McClatchey
                                      Larry J. McClatchey (0012191)
                                      Kegler, Brown, Hill + Ritter, Co., LPA
                                      65 East State Street, Suite 1800
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               EXHIBIT A
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